DocketCase:  4:15-cv-00291-SNLJ
       Entries Results          Doc. #: 1-1 Filed: 02/13/15 Page: 1 of 14 PageID #: 4
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 0210412015           Entry of Appearance Filed
                      Entry of Appearance; Electronic Filing Certificate of Service.
                         Filed By: WILLIAM FRANCIS WHEALEN JR
                         On Behalf Of: ASSET ACCEPTANCE LLC

 01/27/2015           Corporation Served
                      Document ID 14-ADSM-25491; Served To ASSET ACCEPTANCE LLC; Server-; Served Date 15-
                                            -                                          -




                      JAN-15; Served Time 12:44:06; Service Type Special Process Server; Reason Description Served
                                                       -                                   -                                                        -




                      Notice of Service
                      Return of Service on Defendant Asset Acceptance.
                         Filed By: RICHARD ANTHONY VOYTAS Jr.
                         On Behalf Of: LESLIE J CLICK

 01120/2015           Hearing Scheduled
                         Scheduled For: 02/18/2015; 9:00AM ; JUDY PREDDY DRAPER; St Louis County
                      Hearing ContinuedlRescheduled
                         Hearing Continued From: 01/21/2015; 9:00 AM Hearing
                      Motion for Continuance
                      Plaintiffs Motion for Continuance.
                         Filed By: RICHARD ANTHONY VOYTAS Jr.
                         On Behalf Of: LESLIE J CLICK

 1212312014           Summons Issued-Associate
                      Document ID: 14-ADSM-25491, for ASSET ACCEPTANCE LLC. Summons Attached in PDF Form for
                      Attorney to Retrieve from Secure Case.Net and Process for Service.
                      Hearing Scheduled
                         Associated Entries :01120/2015 Hearing Continued/Rescheduled
                                                                            -


                         Scheduled For: 01/21/2015; 9:00 AM ; JUDY PREDDY DRAPER; St Louis County

 11/26/2014           Filing Info Sheet eFiling
                          Filed By: RICHARD ANTHONY VOYTAS Jr.
                      Motion Special Process Server
                      Request for Appointment of Special Process Server for Defendant Asset Acceptance, LLC.
                          Filed By: RICHARD ANTHONY VOYTAS Jr.
                         On Behalf Of: LESLIE J GLICK
                      Pet Filed in Associate Ct
                      Petition; Exhibit 1.
                      Summ Req-Assc Pers Serv
                      Summ Req-Assc Pers Serv
                      Judge Assigned
Casenet Version 5137.0                                                                                                                       Released 01/07/2015




                                                                                                                                              EXHIBIT A
https ://www. courts .mo .gov/casenet/cases/searchDockets .do                                                                                           2/13/20 15
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     :4r',fr

      V             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

  Judge or Division:                                                 Case Number: 14SL-AC32189
  JUDY PREDDY DRAPER
  Plaintiff/Petitioner:                                            Plaintiff's/Petitioner's Attorney/Address:
  LESLIE J GLICK                                                   RICHARD ANTHONY VOYTAS Jr.
                                                                   I NORTH TAYLOR AVENUE
                                                                  SAINT LOUIS, MO 63108
                                                              vs. (314) 932-1068
 Defendant/Respondent:                                               Date, Time and Location of Court Appearance:
 ASSET ACCEPTANCE LLC                                                21-JAN-2015, 09:00 AM
 Nature of Suit:                                                     DIVISION 41W
 AC Other Tort                                                       ST LOUIS COUNTY COURT BUILDING
                                                                     7900 CARONDELET AVE
                                                                     CLAYTON, MO 63105                                                Date File Stam
                                                              ssoc          ivision Summons
   The State of Missouri t - ASSET ACCEPTANCE LLC

 221 BOLIVER STREET
 CSC - LAWYERS INC SERVICE CO
 JEFFERSON CITY, MO 65101
                                         You are summoned to appear before this court on the date, time, and location above to answer the attached
                                    petition. If you fail to do so, judgment by default will be taken against you for the relief demanded in the
          COURTSEAL OF              petition. You may be permitted to 61e certain responsive pleadings, pursuant to Chapter 517 RSMo. Should you
             C0u ~                  have any questions regarding responsive pleadings in this case, you should consult an attorney.
          o~ M                           SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
          ~•                        notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-6154567, at least
                                    three business days in advance of the court proceeding.
                ~                                                                                                   •►
                                                   12I23/14                                                                  ~
     ST. LOUIS COUNTY
                                                      Date                                                         lerk
                                    Further Information:
                                         SM
                                                             Sherifrs or Server's Return
   Note to serving oflicer: Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to
                              appear in court.
    I certify that I have served the above summons by: (check one)
     ❑ delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
     ❑ leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                                                                   a person of the Defendant's/Respondent's family over the age of 15 years.
     ❑ (for service on a corporation) delivering a copy of the sununons and a copy of the petition to
                                                                              (name )                                                         (title).
     ❑ other
     Served at                                                                                                                                 (address)
     in                                          (County/City of St. Louis), MO, on                            (date) at                        (time).

                         Printed Name of Sheriff or Server                                               Signature of Sheriff or Server
                                       Must be sworn before a notary public if not served by an authorized oflicer:
                                       Subscribed and sworn to before me on                                              (date).
                (Seal)
                                      My commission expires:
                                                                      Date                                      Notary Public
     Sherift's Fees, if applicable -
     Summons                       $
     Non Est                       $
     SherifPs Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                             miles @ $.        per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of suits,
     see Su reme Court Rule 54.


OSCA (7-99) SM20 (ADSM) For Court Use Only: Document IDti 14-ADSM-25491 1 517.041 RSMo
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                                   IN THE CIRCUIT COURT OF
                                  ST. LOUIS COUNTY, MISSOURI
                                       ASSOCIATE DIVISION

 LESLIE J. GLICK

          Plaintiff,
                                                                  Cause No.
 V.
                                                                  Division
 ASSET ACCEPTANCE, LLC

 Serve at:
 CSC- Lawyers Incorporating Service Company
 221 Bolivar Street
 Jefferson City, Missouri 65101

          Defendant.                                              JURY TRIAL DEMANDED

                                               PETITION

          COMES NOW Plaintiff, Leslie J. Glick, and for her Petition states as follows:

                                           INTRODUCTION

          1.      This is an action for statutory damages brought by an individual consumer for

 violations of the Fair Debt Collections Practices Act, 15 U.S.C. § 1692 et seq. ("FDCPA"),

 which prohibits debt collectors from engaging in abusive, deceptive, and unfair practices.

          2.      Plaintiff does not seek to invalidate or challenge the judgment entered against her

 in favor of Defendant. However, Plaintiff does seek to challenge Defendant's litigation

 misconduct, including but not limited to false representations about the validity and amount of

 the debt Plaintiff allegedly owed, that went unnoticed by the trial court as described more fully

 below.

          3.      Plaintiff demands a trial by jury on all issues so triable.

                                    JURISDICTION AND VENUE


                                                     1
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        4.      This Court has jurisdiction over Plaintiffls FDCPA claims under 15 U.S.C. §

 1692k(d) because Defendants' illicit conduct was directed at Plaintiff in St. Louis County.

 Venue is also appropriate in this Court for that reason.

                                             PARTIES

        5.      Plaintiff is a natural person currently residing in St. Louis County, Missouri.

 Plaintiff is a"consumer" within the meaning of the FDCPA.

        6.      The alleged debt Plaintiff owes arises out of consumer, family, and household

 transactions. Specifically, the debt arose from a personal credit card issued by Sears/Citibank.

        7.     'Miller & Steeno, P.C. (the "Miller Firm") is a domestic professional corporation

 with its principal place of business in St. Louis, Missouri. The principal business purpose of the
                                     ~
 Defendant is the collection of debts in Missouri and nationwide, and Defendant regularly

 attempts to collect debts alleged to be due another.

        8.      Defendant Asset Acceptance ("Asset") is a foreign limited liability company with

 its principal place of business in Warren, Michigan. The principal business purpose of

 Defendant is the collection of debts in Missouri and nationwide, and Defendant regularly

 attempts to collect debts alleged to be due another.

        9.      The Miller Firm is Asset's agent for purposes of collecting Plaintiffls debt.

        10.     Asset and the Miller Firm, upon information and belief, are parties to an

 agreement specifying that the Miller Firni is to provide collection services for Asset.

        11.     Defendant is engaged in the collection of debts from consumers using the mail

 and telephone. Defendant is a"debt collector" as defined by the FDCPA. 15 U.S.C. § 1692a(6).

                                               FACTS.



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         12.    Defendant's collection activity of which Plaintiff complains occurred within the

 previous twelve (12) months.

         13.    Defendant's relevant collection activity consisted of a lawsuit filed against

 Plaintiff.

         14.    On January 31, 2014, Defendant filed a lawsuit against Plaintiff in St. Louis

 County Associate Circuit Court, Cause No. 14SL-AC03377 ("Collection Suit"), a true and

 accurate copy of which is attached hereto as Exhibit 1.

         15.    The Collection Suit made, inter alia, the following allegations:

                a.      That Midland was the assignee of the original creditor, Sears/Citibank;

                b.      That there was an agreement between Sears/Citibank and Plaintiff; and

                C.      That Sears/Citibank, and subsequently Defendant, made a demand for

                        payment of the outstanding sum of $12,951.17, but Plaintiff has refused to

                        Pay.

         16.    Defendant failed to attach an affidavit from the original creditor substantiating its

 allegations in its Collection Suit; this is not in compliance with the requirements of CACH, LLC

 v. Askew, 358 S.W.3d 58, 63 (Mo. banc 2012).

         17.    Defendant did attach its own "affidavit of indebtedness."

         18.    Defendant's affidavit of indebtedness was made by Defendant's employee, not an

 employee of Plaintiff's original creditor.

         19.    Defendant's affidavit of indebtedness was therefore not made by anyone with

 personal knowledge about the debt, although Defendant falsely and deceptively claimed in the

 affidavit that it did have such personal knowledge.



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        20.     Defendants did not attach any contract or agreement purportedly existing between

 the original creditor and Plaintiffto the Collection Suit.

        21.     Failing to attach the contract between the original creditor and Plaintiff is a

 violation of Mo. Rev. Stat. § 517.031 and constitutes an unfair collection tactic.

        22.     Additionally, Defendant failed to attach any records of assignment of Plaintiff's

 alleged debt from the original creditor to any subsequent creditors, including Defendant.

        23.     Defendant sued on Plaintiffls alleged debt without any way to substantiate the

 balance owed or even confirm that there was indeed a debt in the first place.

        24.     Defendant came to realize, after many years of suing consumers like Plairitiff, that

 the vast majority of debtors lacked the resources to come into court to defend Defendant's

 meritless and unsubstantiated debt collection lawsuits.

        25.     Defendant, as evidenced by the judgment it took against Plaintiff, lacked (1) valid

 proof of assignment from Plaintiffls original creditor and any subsequent debt purchasers to

 Defendant, (2) valid proof that the debt was even owed, and (3) the required contract needed to

 obtain judgment.

        26.     Defendant filed the Collection Suit intending to take advantage of Plaintiff's dire

 economic circumstances and unsophistication.

        27.     Defendant knew or should have known that Plaintiff would not have the resources

 to hire an attorney to decipher Defendant's bogus affidavit of indebtedness, and Defendant knew

 or should have known that Plaintiff could not decipher the bogus affidavit on her own.

        28.     Defendant filed the Collection Suit and took judgment against Plaintiff with full

 knowledge that Defendant lacked the evidence required in Missouri to prove (1) Defendant's

 standing to sue Plaintiff and (2) the amount and/or validity of the debt.

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         29.      Defendant filed the Collection Suit and, in its Motion to Default Plaintiff, actively

  and falsely represented to the Court (via the bogus affidavit of indebtedness that Defendant did

  present to the Court) that Defendant had standing and sufficient proof as to the validity and

 amount of the debt.

         30.      But for these false representations, Defendant would not have obtained judgment

 against Plaintiff.

         31.      Plaintiff never entered into any agreement whereby she consented to arbitrate

 disputes between herself and Defendant.

         32.      Defendant's collection attempts have caused Plaintiff to incur actual damages

  including but not limited to anxiety, frustration, and worry.

                             COUNT I: VIOLATION OF THE FDCPA

         37.      Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

         38.      In its attempts to collect the alleged debt from Plaintiff, Defendant has committed

 violations of the FDCPA, 15 U.S.C. § 1692 et seq., including, but not limited to, the following:

         a.       Utilizing false, unfair, and misleading representations in connection with the

 collection of a debt; 15 U.S.C. § 1692d-e;-

         b.       Engaging in deceptive and harassing conduct in the collection of a debt, 15 U.S.C.

 § 1692d-f; and

         C.       Defendant used unfair and unconscionable practices to attempt to collect the debt.

  15 U.S.C. §1692f.

         WHEREFORE, Plaintiff respectfully requests that judgment be entered against

 Defendant for:

         A.       Judgment that Defendant's conduct violated the FDCPA;

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        B.    Actual damages;

        C.    Release of the alleged debt;

        D.    Statutory damages, costs, and reasonable attorney's fees •pursuant to 15 U.S.C. §

              1692(k); and

        E.    For such other relief as the Court may deem just and proper.




                                             VOYTAS & COMPANY

                                             /s/ Richard A. Voytas, Jr.

                                             Richard A. Voytas, Jr., #52046
                                             Voytas & Company
                                             1 North Taylor Ave.
                                             St. Louis, Missouri 63108
                                             Phone: (314) 932-1068




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